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 1

 2

 3
     Patrick McMahon, WSBA #18809
 4   Attorney for Defendants
     Carlson & McMahon, PLLC
 5   715 Washington Street
     P.O. Box 2965
 6   Wenatchee, WA 98807-2965
     509-662-6131
 7
     509-663-0679 Facsimile
 8
     patm@carlson-mcmahon.org
                                                             The Honorable Thomas O. Rice
 9

10
                            UNITED STATES DISTRICT COURT
11                        EASTERN DISTRICT OF WASHINGTON
12

13   MILAN RICHARD HAVLIK, JR.,                            NO. 42:22-cv-00096-TOR
14
                                    Plaintiff,             DEFENDANTS’ TAMMI
15                                                         DENNEY - BILL ROBERTS -
16         v.                                              AND RANDAL CLINE’S
                                                           ANSWER AND
17
     BILL ROBERTS, TAMMI DENNEY                            AFFIRMATIVE DEFENSES
18   and RANDAL CLINE,                                     TO PLAINTIFF’S SECOND
19                                                         AMENDED PRO SE
                                    Defendants.            COMPLAINT AND JURY
20
                                                           DEMAND
21

22          COME NOW, above-named Defendants TAMMI DENNEY, BILL
23

24
     ROBERTS, and RANDAL CLINE, (hereinafter referred to as “this Defendant”),
25
     by and through their attorney of record, Patrick McMahon of Carlson &
26

27
     McMahon, PLLC, and hereby submits their Answer to the Plaintiff’s Second
28
     Amended Prisoner Civil Rights Complaint.
29

30


     DEFENDANT’ BILL ROBERTS, TAMMI DENNEY and                      Carlson & McMahon, PLLC
                                                                           715 Washington Street
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     DEMAND FOR JURY                                                (509) 662-6131 Fax (509) 663-0679
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 1
                                 I.      PLAINTIFF INFORMATION
 2

 3
           This Defendant admits the information contained in Paragraph I identified
 4
     as Plaintiff Information.
 5

 6
                          II. DEFENDANT INFORMATION
 7
           This Defendant admits that Defendant 1 is identified as Tammi Denney.
 8

 9   This Defendant admits that Defendant 2 is identified as Bill Roberts. This
10
     Defendant admits that Defendant 3 is identified as Randal Cline.
11

12                          III. STATEMENT OF CLAIM(S)
13
                                            COUNT I
14

15         1.1    This Defendant denies the allegations contained in Count I
16
     Paragraph 1.1 of Plaintiff’s Second Amended Complaint.
17

18         1.2    This Defendant denies the allegations contained in Count I
19
     Paragraph 1.2 of Plaintiff’s Second Amended Complaint.
20

21         1.3    This Defendant denies the allegations contained in Count I
22
     Paragraph 1.3 of Plaintiff’s Second Amended Complaint.
23

24         1.4    This Defendant denies the allegations contained in Count I
25
     Paragraph 1.4 of Plaintiff’s Second Amended Complaint.
26

27         1.5    This Defendant denies the allegations contained in Count I
28
     Paragraph 1.5 of Plaintiff’s Second Amended Complaint.
29

30


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 1
            1.6    This Defendant denies the allegations contained in Count I
 2

 3
     Paragraph 1.6 of Plaintiff’s Second Amended Complaint.
 4
            1.7    This Defendant denies the allegations contained in Count I
 5

 6
     Paragraph 1.7 of Plaintiff’s Second Amended Complaint.
 7
            1.8    This Defendant denies the allegations contained in Count I
 8

 9   Paragraph 1.8 of Plaintiff’s Second Amended Complaint.
10
                            INJURY, HARM OR DAMAGES
11

12          This Defendant having insufficient information to either admit or deny the
13
     allegations pertaining to Plaintiff’s injury, harm, or damages, denies the same in
14

15   their entirety.
16
                                        COUNT II
17

18          2.1    This Defendant denies the allegations contained in Count II
19
     Paragraph 2.1 of Plaintiff’s Second Amended Complaint.
20

21          2.2    This Defendant denies the allegations contained in Count II
22
     Paragraph 2.2 of Plaintiff’s Second Amended Complaint.
23

24          2.3    This Defendant denies the allegations contained in Count II
25
     Paragraph 2.3 of Plaintiff’s Second Amended Complaint.
26

27          2.4    This Defendant denies the allegations contained in Count II
28
     Paragraph 2.4 of Plaintiff’s Second Amended Complaint.
29

30


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 1

 2

 3

 4
                             INJURY, HARM OR DAMAGES
 5

 6
           This Defendant having insufficient information to either admit or deny the
 7
     injury, harm, or damages set forth in this section, denies the same in their entirety.
 8

 9                                       COUNT III
10
           3.1    This Defendant denies the allegations contained in Count III
11

12   Paragraph 3.1 of Plaintiff’s Second Amended Complaint.
13
           3.2    This Defendant denies the allegations contained in Count III
14

15   Paragraph 3.2 of Plaintiff’s Second Amended Complaint.
16
                             INJURY, HARM OR DAMAGES
17

18         This Defendant having insufficient information to eithe4r admit or deny the
19
     injury, harm, or damages claimed by Plaintiff, hereby denies the same in their
20

21   entirety.
22
                                        IV. RELIEF
23

24         This Defendant specifically denies that the Plaintiff is entitled to relief as
25
     prayed for in this section.
26

27

28
           By way of further answer and affirmative defenses, this Defendant alleges
29
     the following:
30


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 1
                             AFFIRMATIVE DEFENSES
 2

 3
                                              I.
 4
           As a First Affirmative Defense, this Defendant alleges that Plaintiff fails to
 5

 6
     state a claim upon which relief may be granted.
 7
                                              II.
 8

 9         As a Second Affirmative Defense, this Defendant alleges all identified
10
     Defendants in Plaintiff’s Second Amended Complaint are protected from liability
11

12   pursuant to the doctrine of qualified immunity.
13
                                              III.
14

15         As a Third Affirmative Defense, all actions taken by this Defendant were
16
     performed in good faith, were reasonable, and in compliance with procedures and
17

18   protocol.
19
                                              IV.
20

21         As a Fourth Affirmative Defense, this Defendant alleges that the Plaintiff
22
     assumed the risk of harm.
23

24                                            V.
25

26
           As a Fifth Affirmative Defense, to the extent the Plaintiff has failed to
27
     mitigate his damages, any recovery should be reduced accordingly.
28

29

30


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 1
                                                    VI.
 2

 3
               As a Sixth Affirmative Defense, this Defendant specifically reserves the
 4
     right to add affirmative defenses, empty chair defendants, counterclaims, cross-
 5

 6
     claims, and third-party claims as they become known through the process of
 7
     discovery.
 8

 9                                        JURY DEMAND
10
               This Defendant hereby requests that this case be tried before a jury
11

12   pursuant to FRCP 38.
13
               WHEREFORE, this Defendant having fully answered the Plaintiff’s
14

15   Second Amended Complaint and prays that the same be dismissed with prejudice
16
     and that this Defendant have and recover costs expended herein, and that the
17

18   Plaintiff take and recover nothing.
19
               RESPECTFULLY SUBMITTED THIS 15th day of September, 2022.
20

21                                         CARLSON & McMAHON, PLLC
22
                                           By   /s/ Patrick McMahon
23
                                                PATRICK MCMAHON, WSBA #18809
24                                              Attorney for Defendants
25
                                                715 Washington Street
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                                                P.O. Box 2965
27                                              Wenatchee, WA 98807-2965
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30


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 1

 2
                            CERTIFICATION OF SERVICE
 3

 4
            I declare under penalty of perjury under the laws of the State of
 5   Washington that on September 15, 2022, I electronically filed the foregoing with
 6   the Clerk of the Court for the United States District Court for the Eastern District
 7   of Washington using the CM/ECF system which will send notification of such
 8
     filing to:
 9

10
     And I certify that I have mailed by United States Postal Service the foregoing to
11
     the following non CM/ECF participants:
12

13
                             Milan Richard Havlik, Jr., 119364
14                                Okanogan County Jail
15                                  149 N. 4th Avenue
16
                                  Okanogan, WA 98840
17

18          Signed at Wenatchee, Washington on September 15, 2022.
19

20                                       /s/  Patrick McMahon
                                     PATRICK MCMAHON, WSBA #18809
21

22

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